      Case:4:19-cv-01843-KAW
      Case  20-16414, 10/13/2021, ID: 12255129,
                               Document         DktEntry:
                                          95 Filed        42, Page
                                                   10/13/21   Page11of
                                                                    of33




                  UNITED STATES COURT OF APPEALS                     FILED
                        FOR THE NINTH CIRCUIT                        OCT 13 2021
                                                                 MOLLY C. DWYER, CLERK
                                                                   U.S. COURT OF APPEALS
SYNOPSYS, INC.,                             No.   20-16414

             Plaintiff-Appellant,           D.C. No. 4:20-cv-00693-KAW
                                            Northern District of California,
 v.                                         Oakland

U.S. DEPARTMENT OF LABOR,                   ORDER

             Defendant-Appellee.


WILL EVANS; THE CENTER FOR                  No.   20-16416
INVESTIGATIVE REPORTING,
                                            D.C. No. 4:19-cv-01843-KAW
             Plaintiffs-Appellees,

 v.

SYNOPSYS, INC.,

             Intervenor-Appellant,

and

U.S. DEPARTMENT OF LABOR,

             Defendant-Appellee.


WILL EVANS; THE CENTER FOR                  No.   20-16538
INVESTIGATIVE REPORTING,
                                            D.C. No. 4:19-cv-01843-KAW
             Plaintiffs-Cross-Appellants,

 v.
          Case:4:19-cv-01843-KAW
          Case  20-16414, 10/13/2021, ID: 12255129,
                                   Document         DktEntry:
                                              95 Filed        42, Page
                                                       10/13/21   Page22of
                                                                        of33




SYNOPSYS, INC.,

                 Intervenor-Cross-Appellee,

and

U.S. DEPARTMENT OF LABOR,

                 Defendant.


WILL EVANS; THE CENTER FOR                      No.   20-16826
INVESTIGATIVE REPORTING,
                                                D.C. No. 4:19-cv-01843-KAW
                 Plaintiffs,

 v.

SYNOPSYS, INC.,

                 Intervenor-Cross-Appellee,

and

U.S. DEPARTMENT OF LABOR,

                 Defendant-Cross-Appellant.

Before: CLIFTON and FRIEDLAND, Circuit Judges, and McSHANE,* District
Judge.

      The court requests supplemental briefs addressing whether the Department

of Labor and The Center for Investigative Reporting forfeited their argument,


      *
              The Honorable Michael J. McShane, United States District Judge for
the District of Oregon, sitting by designation.

                                          2
        Case:4:19-cv-01843-KAW
        Case  20-16414, 10/13/2021, ID: 12255129,
                                 Document         DktEntry:
                                            95 Filed        42, Page
                                                     10/13/21   Page33of
                                                                      of33




made apparently for the first time in district court filings on April 13, 2020 and

April 17, 2020, that the district court did not have authority to respond to

Synopsys’s motion to intervene, emergency motion to stay, and motion to shorten

time by extending the February 10, 2020 deadline to appeal the entry of summary

judgment. See, e.g., Hamer v. Neighborhood Hous. Servs. of Chi., 138 S. Ct. 13

(2017) (discussing the distinction between jurisdictional deadlines and mandatory

claims-processing rules and the forfeitability of the latter). Synopsys, the

Department of Labor, and The Center for Investigative Reporting shall file any

supplemental briefs no later than 30 days from the date this order is filed. Each

brief shall not exceed 3,500 words. The Department of Labor and The Center for

Investigative Reporting may file a single brief, it they elect, but that brief shall not

exceed 3,500 words. No reply briefs will be permitted absent further order from

the court.




                                           3
